                                                      EXHIBIT 5


                                                                  Page 1

 1                         UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WISCONSIN
 2
 3      CRAIG CUNNINGHAM,
 4           Plaintiff,
 5           vs.                               CASE NO. 3:16-cv-00761-jdp
 6      MICHAEL MONTES, et al.,
 7           Defendants.
        ____________________________/
 8
 9
        DEPOSITION OF:                Michael James Montes
10
        DATE:                         April 18, 2019
11
        TIME:                         2:18 p.m. to 4:04 p.m.
12
        LOCATION:                     135 Riverview Road
13                                    Fort Myers, Florida 33905
14      TAKEN BY:                     Plaintiff
15      REPORTER:                     Darla R. Rowe
16
17
18
19
20
21
22
23
24
25

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                                                Page 2                                                                   Page 4
 1 APPEARANCES:                                           1 THEREUPON,
 2 For the Plaintiff:   DAVID B. LEVIN, ESQ.
                                                          2              MICHAEL JAMES MONTES,
   (via Skype)          Law Offices of
 3                 Todd M. Friedman, P.C.                 3 a witness, having been first duly sworn, upon his oath,
                   333 Skokie Boulevard                   4 testified as follows:
 4                 Suite 103                              5        THE WITNESS: I do.
                   Northbrook, Illinois 60062
                                                          6        MR. LEVIN: Just for the record, I'd like to
 5
   For the Defendants: KEVIN D. TROST, ESQ.               7    reflect this is the supplemental deposition of Michael
 6 (via Skype)          Axley Brynelson                   8    Montes taken pursuant to agreement after the -- I'm
                   2 East Mifflin Street                  9    sorry. Off the record.
 7                 Suite 200                             10        (A discussion was held off the record.)
                   Madison, Wisconsin 53703
 8                                                       11               DIRECT EXAMINATION
 9                                                       12 BY MR. LEVIN:
10                                                       13    Q. All right. This is going to be tricky. As I was
11                                                       14 saying, let the record reflect that this is the
12
                                                         15 supplemental deposition of Michael Montes taken pursuant
13
14                                                       16 to agreement of the parties after a supplemental discovery
15                                                       17 production and subpoena response was served.
16                                                       18        This is being taken pursuant to a Skype video
17
                                                         19 conference. The court reporter is located with Mr. Montes
18
19                                                       20 at his home in Florida. And also appearing are myself,
20                                                       21 David Levin, attorney for the Plaintiff; the Plaintiff,
21                                                       22 Craig Cunningham; and counsel for Mr. Montes, Kevin Trost.
22
                                                         23        Mr. Montes, do you recall the guidelines that we
23
24                                                       24 discussed prior to your initial deposition?
25                                                       25    A. Yes.

                                                Page 3                                                                   Page 5
 1               INDEX                                    1      Q. Okay. Those same guidelines will apply for
 2 WITNESS               PAGE                             2   today's deposition as well. Did you review any documents
 3 Michael James Montes                                   3   or records to prepare for this deposition today?
 4 DIRECT EXAMINATION                                     4      A. No.
   BY MR. LEVIN            4
                                                          5      Q. Okay then. I'm going to ask you some questions
 5
                                                          6   about some exhibits that I understand have been shared
 6
                                                          7   with you electronically. I sent those -- there should be
 7
          NO EXHIBITS MARKED                              8   eight exhibits, seven PDFs and one video file, that I sent
 8                                                        9   to Mr. Trost this morning, and he told me he had forwarded
 9                                                       10   those on to you.
10                                                       11         Do you have those eight files available?
11                                                       12      A. I'm looking at my e-mail. I see that Kevin sent
12                                                       13   me one, two, three, four, five, six, seven, eight --
13                                                       14   eight. Yes.
14                                                       15      Q. Okay. Good. Okay. To begin with I'd like you
15                                                       16   to please open the document that was labeled as Exhibit
16                                                       17   No. 2. And I'll share this all with the court reporter as
17
                                                         18   well once this is completed, so they can become part of
18
                                                         19   the record here.
19
                                                         20         Sorry I'm out of order. Exhibit No. 2, please.
20
21                                                       21      A. It's open.
22                                                       22      Q. Okay. And just make sure we're looking at the
23                                                       23   same thing. You have there the subpoena that was served
24                                                       24   on you in this case previously?
25                                                       25      A. It appears so, yes.

                                                                                                              2 (Pages 2 - 5)
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 1      Q. Okay. And then if you could, please, open the           1 assuming that because that's where Technologic is located?
 2   PDF that was marked as Exhibit No. 1.                         2      A. That's where Technologic is located, and that's
 3      A. Okay. It's open.                                        3 the address she gives on all of her correspondence.
 4      Q. All right. Exhibit No. 1 was provided to me by          4      Q. For what purpose did you communicate with Danila
 5   your attorney after the Court granted the Plaintiff's         5 Hardon at Technologic?
 6   motion to compel the response to the subpoena. Can you        6      A. She sends me invoices.
 7   please confirm for me -- the documents that were produced     7      Q. Did you communicate with her about anything other
 8   in PDF form that consist of 1,290 page and have been          8 than payment of Technologic invoices?
 9   labeled for this deposition as Exhibit No. 1, is that a       9      A. No.
10   complete response to all 17 paragraphs -- categories of      10      Q. And it appears that the first several pages --
11   information listed in the rider to this subpoena?            11 the first 80 pages or so of this PDF, Exhibit No. 1, are
12      A. Without going through all thousand-plus pages, if      12 mainly communications with Ms. Hardon regarding payments
13   this is what Kevin sent you based on what I sent him, then   13 made to Technologic; is that correct?
14   yes.                                                         14      A. Yes. That's correct.
15      Q. Okay. I don't want us to have to go through all        15      Q. Okay. And is that intended to be in response to
16   1,290 pages this afternoon either, so I'm going to ask you   16 paragraph number 1 of the rider to the subpoena, Exhibit
17   some questions based on my review of these documents and     17 2?
18   how they appear to be grouped together. So if you can        18      A. Can you read me what it says?
19   start at page 1 of Exhibit No. 1, to begin with there's a    19      Q. "Any e-mails and other written communications
20   company named -- I assume it's a company in the middle of    20 sent by Michael Montes to or received by Montes from
21   page there -- Zochnet, Z-o-c-h-n-e-t, in Lincoln, Texas.     21 anyone associated with Technologic USA, Incorporated."
22          Are you familiar with that company?                   22      A. Then yes, that would be it.
23      A. Yes.                                                   23      Q. Okay. So within this PDF, Exhibit No. 1, you
24      Q. Is that a customer of yours?                           24 have provided any e-mail communications you had with
25      A. No. Zochnet is Robert Zoch. He's a gentleman           25 anyone associated with Technologic; correct?

                                                         Page 7                                                                   Page 9
 1   who was appointed to me as a tech support.                    1      A. Correct.
 2      Q. Tech support for what?                                  2      Q. How did you put all of these e-mails together
 3      A. For the use of Technologic, Inc.'s platform.            3   into the form that we have received here?
 4      Q. So was he your initial contact to connect to            4      A. I went in and searched my e-mail and copied and
 5   Technologic?                                                  5   pasted everything that I found.
 6      A. No. He was given to me by Technologic, Inc.,            6      Q. What did you search for?
 7   that I had to pay for as technical support.                   7      A. I searched for Technologic, Inc.
 8      Q. Okay. So he provided technical support to you           8      Q. So you were searching for any e-mails that
 9   for the Technologic system when you needed it?                9   mentioned the word Technologic?
10      A. Yes.                                                   10      A. Correct.
11      Q. Okay. If you could scroll down to page number 4        11      Q. And what sort of e-mail system do you use on your
12   of Exhibit 1, please, towards the bottom. Let me know        12   personal computer?
13   when you're there.                                           13      A. Gmail.
14      A. Okay. Okay. Towards the bottom.                        14      Q. So you were searching within the Gmail web
15      Q. Okay. There's somebody's name there, Danila            15   browser interface?
16   Hardon, identified as vice president and general manager,    16      A. Correct.
17   Technologic, Inc. Have you ever met Danila Hardon?           17      Q. When did you first start doing business with
18      A. No. I have never met her, nor have I ever spoken       18   Technologic?
19   to her.                                                      19      A. I don't recall. I would have to look that up.
20      Q. Have you ever communicated with her in any other       20      Q. Okay. In your first deposition that took place
21   way besides e-mail?                                          21   on January 14th of this year -- bear with me just a moment
22      A. No. E-mail is it.                                      22   -- you testified that you switched from Shoutpoint
23      Q. Do you know where she is located?                      23   Technologic in late 2016 or early 2017. Does that sound
24      A. I want to say she's in Panama.                         24   about right?
25      Q. Do you know that for certain, or you're just           25      A. You know, again, without looking -- that was an

                                                                                                                      3 (Pages 6 - 9)
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 1 estimate, and I need to look to find out exactly when that  1         Q. Was that responsive to paragraph 2 of the rider
 2 was before I answer that.                                   2      to the subpoena?
 3      MR. LEVIN: Okay. Kevin, I'd like to ask that           3         A. Without looking at it -- you've got to read it to
 4 some supplemental answer be provided if he has a            4      me.
 5 chance to review just to confirm the date that he           5         Q. "Any e-mails and other written communication sent
 6 first began doing business with Technologic.                6      by Montes to or received by Montes from anyone associated
 7      MR. TROST: Just send me an e-mail after                7      with any dialing platform or software utilized by
 8 summarizing your requests. We can respond to those.         8      customers of Montes."
 9      MR. LEVIN: Sure.                                       9         A. Yes. They are a dialer platform that we use.
10      MR. TROST: I also just want to point out this is      10      But our client is a company called Rosetta Stone, and they
11 a supplemental deposition based upon the documents         11      are a political polling company.
12 that were produced in response to the subpoena after       12         Q. If you could please skip ahead to page 87 in
13 the court hearing. So I imagine your questions are         13      Exhibit No. 1.
14 going to be tailored to the subpoena response and not      14         A. Okay.
15 wander over into the topics that were already covered      15         Q. All right. These appear to be some
16 in the January dep.                                        16      communications with somebody named Aftab Baig.
17      MR. LEVIN: No. But I think when he first began        17         A. Yes, sir.
18 doing business with a company from whom he's produced 18              Q. I'm not sure if I'm pronouncing that correctly.
19 80 pages of communications is a relevant question to       19      A-f-t-a-b, last name B-a-i-g.
20 the subpoena response.                                     20         A. Yes, sir.
21      MR. TROST: And that's fine. I'm just making           21         Q. Is that someone associated with Stratics Network?
22 that statement just so we're all on the same page.         22         A. Yes, sir. He is my contact there.
23      MR. LEVIN: Okay. Fair enough.                         23         Q. Do you have any reason to believe that he would
24 BY MR. LEVIN:                                              24      have any knowledge relevant to the issues that we're
25 Q. Mr. Montes, is there any reason to think there          25      dealing with in this case?
                                                      Page 11                                                           Page 13
 1   are any other written communications that you had with       1      A. No. But you're free to contact him.
 2   anyone associated with Technologic other than what you've    2      Q. If you could please skip ahead in the PDF to page
 3   produced in Exhibit No. 1?                                   3   number 120. It says, "Shoutpoint direct to voice mail,"
 4      A. No. No.                                                4   at the top.
 5      Q. Okay. Then if you could please skip ahead in           5      A. Waiting for it to load. Okay. Okay. I'm there.
 6   Exhibit No. 1 to page 8 -- 83 of the PDF. Let me know        6      Q. Okay. From my review of these records, it
 7   when you're there.                                           7   appears that -- starting there through about the next 12
 8      A. Okay. I'm just waiting for it to load. Bear            8   pages or so appear to be e-mails with various individuals
 9   with me. Okay.                                               9   at Shoutpoint; is that correct?
10      Q. All right. Are you looking at the page that says      10      A. Yes.
11   at the top, "Welcome to Stratics Network, activate your     11      Q. And were these also produced in response to
12   account"?                                                   12   paragraph number 2, e-mails that you sent to or received
13      A. No. I am at 883, but I don't see that. I'm at         13   from representatives of other dialers with whom you work?
14   dialerleads.com, credentials and instructions.              14      A. Yes.
15      Q. No, just 83.                                          15      Q. And you ceased working with Shoutpoint at the
16      A. Oh. I'm sorry. Eighty-three. Let me go back.          16   time that you started working with Technologic; correct?
17         Okay. "Welcome to Stratics Network." Yes.             17      A. Without looking I couldn't tell you, but it was
18      Q. Okay. What is Stratics Network?                       18   around that time.
19      A. Stratics Network is a platform that we use for        19      Q. I believe you testified in your last deposition
20   polling.                                                    20   that you switched to Technologic because they were
21      Q. For what? I'm sorry.                                  21   cheaper, and Shoutpoint had cut off your line of credit at
22      A. Political polling.                                    22   that point. So without telling me the date, at any point
23      Q. Okay. And what relevance does Stratics Network        23   were you working with Shoutpoint and Technologic at the
24   have to this case?                                          24   same time? Do you know?
25      A. Zero.                                                 25      A. I would have to look if we still have a platform

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 1   with them. I want to say no, but I cannot guarantee that      1      Q. This appears to be an e-mail correspondence with
 2   without looking at it.                                        2   an e-mail address, payments@intuit.com. Did you use
 3      Q. Okay. If you could please skip ahead to page 129        3   Intuit Payment Solutions as a credit card processor at
 4   in Exhibit No. 1.                                             4   some point?
 5      A. Okay.                                                   5      A. It's the same as First Data. It's just another
 6      Q. It says, "Ignite payments and First Data merchant       6   name that they use.
 7   account," at the top?                                         7      Q. Same company?
 8      A. Yes.                                                    8      A. I believe it's the same company. Yeah.
 9      Q. And below that it appears to be the e-mail that         9      Q. Okay. Please turn ahead to page 135.
10   you copied from somebody named Bridget Sanders at First      10      A. Okay.
11   Data?                                                        11      Q. Okay. Are you looking at the page identifying
12      A. Correct.                                               12   contact information for Fernando Ugarte?
13      Q. Okay. What does this e-mail reflect?                   13      A. I am.
14      A. You had wanted to know who my credit card              14      Q. Okay. From my review of your production from
15   processer was at the time.                                   15   page 135 through the end of the documents, over 1,100
16      Q. So paragraph number 3 in the rider to the              16   pages appears to be the same set of data and information
17   subpoena requests all documents identifying any companies    17   for a number of different people along with any
18   and merchant accounts used by Montes or any entity owned     18   correspondence that you had with those individuals.
19   or controlled by Montes to process credit card               19         Is that a correct characterization of what you
20   transactions.                                                20   produced?
21      A. Correct.                                               21      A. Yes.
22      Q. This is in response to that request?                   22      Q. And the page we're looking at, 135, has different
23      A. Correct.                                               23   information for Fernando Ugarte including his address,
24      Q. Okay. At the top of page 129, there's a black          24   daytime phone, evening phone, e-mail address and so on.
25   box with some information that's been redacted. Is that      25   Was that information that was entered through your
                                                        Page 15                                                           Page 17
 1   your merchant account number that's been redacted?            1   AutoDialer123 website?
 2      A. I would assume so. I don't know.                        2      A. Yes.
 3      Q. Did you redact that, or did your attorney redact        3      Q. Okay. How did you put this information together
 4   that?                                                         4   for these various individuals?
 5          MR. TROST: This is Kevin. My office redacted           5      A. I went to the Gmail, and I typed in "sign-up
 6      it. It appeared to be a merchant account number.           6   form" and loaded up everything I found.
 7          MR. LEVIN: Well, it appears that the number            7      Q. So when somebody fills out that form, you receive
 8      would be responsive to the request in the subpoena for     8   an e-mail with this information at your Gmail address?
 9      which the Court had compelled a response, but I guess      9      A. Yes, sir.
10      we can talk about that later.                             10      Q. And you're copying and pasting the contents of
11      Q. So these other e-mails that we've been talking         11   that e-mail into this document?
12   about with First Data, with Shoutpoint and with the other    12      A. Correct.
13   dialer, Stratics Network -- sorry -- did you put those       13      Q. All right. So towards the bottom of page 135,
14   together in the same way that you did the e-mails with       14   there is an entry where it says, "800 Link or press 1
15   Technologic?                                                 15   number." Do you see that?
16      A. I did. I searched my e-mails, and what I found I       16      A. Yes, sir.
17   copied --                                                    17      Q. What does that mean?
18      Q. Can't hear you, Mr. Montes.                            18      A. If they have a -- that's essentially their caller
19      A. Yes. I did. I searched my Gmail, and what I            19   I.D. So they all have to give us a caller I.D., and
20   found I was able to copy and paste in this document.         20   that's what that is.
21      Q. And what did you search for, just the company          21      Q. So if Fernando Ugarte is placing calls through
22   names again?                                                 22   your system, that is the number that would show on the
23      A. Yes, company names.                                    23   caller I.D. of the recipient of any of his calls; is that
24      Q. Turn to page 132, please, in Exhibit No. 1.            24   correct?
25      A. Okay.                                                  25      A. Correct. Unless they change it, but we would

                                                                                                            5 (Pages 14 - 17)
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 1   have a record of it.                                        1     gives them instructions to go to YouTube and figure out
 2      Q. So what is 800 Link exactly? What does that           2     how to use the system. It talks about a number of other
 3   mean?                                                       3     things, but if they need help, call us.
 4      A. 800 Link is a company that a lot of people will       4       Q. So if you skip ahead to the next page, 139, we
 5   go to to get -- it's just one of many, but it's one of      5     have some information regarding somebody named Ron Long.
 6   them that was popular with this group. And they get an      6     Do you see that?
 7   800 Link number, which could be a local line or an 800      7       A. Yes.
 8   number, and they use that as either their caller I.D. or a  8       Q. And if you go back to page 138, is this an e-mail
 9   back-in message or whatever they're doing with their        9     that you sent to Ron Long, or where did this come from?
10   program, whatever their program is.                        10     How and why did you put it into this production response?
11         But they have to give us a caller I.D. So no         11       A. This would have been something we sent back to
12   matter what, they have to give us something. And           12     Ron Long.
13   sometimes it's with 800 Link. Sometimes it's with who      13       Q. So that would be an e-mail that you sent him
14   knows what service. But at the end of the day, that's      14     after you received his data requesting an account as a new
15   what it's there for.                                       15     customer?
16      Q. What is a press 1 number?                            16       A. Correct.
17      A. A press 1 is where if they are going out with a      17       Q. For Mr. Long's information, there's no entry
18   message and somebody wants to hear more information, they 18      under 800 Link or press 1 number. Would you have set up
19   can press 1 and our system will route it to that number.   19     an account for somebody without having that caller I.D. or
20   So if this is their press 1 number, for instance, it's     20     call-back number?
21   also their caller I.D. usually. And we will transfer any   21       A. We would. It wouldn't be -- they wouldn't be
22   people who answered live and have more interest in         22     able to use it. And if you notice on top of page 138, I
23   whatever it is that they're doing to that number.          23     sent it with a bold thing there in parentheses. It says,
24      Q. So the number that you have for Mr. Ugarte does      24     "I need your press 1 number."
25   not appear to be a valid telephone number; correct?        25       Q. Okay. Under comments Ron Long apparently

                                                       Page 19                                                                      Page 21
 1       A. I have no idea. I haven't called it, but --            1   entered, "I am a part of Brian Kaplan's SSM group." Do
 2       Q. Well, it's 11 digits, so I don't know how it           2   you require any of your customers to identify their
 3   could be. That's why I'm asking.                              3   affiliation or the purpose for which they're going to use
 4       A. Well, we probably lopped off a zero or test            4   the system to make these calls?
 5   called it first.                                              5      A. No. Because they all send us their data and
 6       Q. So do you require that the 800 Link or press 1         6   their audio file, or they load it themselves or whatever
 7   number that's going to show up on a recipient's caller        7   the case is. Some people -- you know, we need to get on
 8   I.D. be an actual working telephone number?                   8   the phone -- in fact, a lot of them we need to get on the
 9       A. Usually we'll call them and verify they go             9   phone and do a training session on how to use the system.
10   somewhere. We don't mandate it, but I don't know anybody     10          Most of these people would load their stuff
11   that would do anything different.                            11   themselves, so we don't really -- we don't really care who
12       Q. So you call and check those phone numbers for         12   they -- what team they belong to, or if they belong to a
13   every new customer when they provide them to you?            13   team or whatever company. I mean, it wasn't our business,
14       A. If we feel like we need to. We don't always do        14   so we didn't care. We just wanted to get the calls out
15   it, especially when we're busy. But I don't know anybody     15   for them.
16   that would waste telemarketing without a valid caller I.D.   16      Q. Okay. If you could skip down, please, to page
17   They want people to call them back, so -- no. The answer     17   number 160, 1-6-0.
18   is no. I don't always call them.                             18      A. Okay.
19       Q. Okay. If you could please skip ahead to page          19      Q. So at the bottom of that page, we have some
20   138. It says, "Dialer credentials and instructions," at      20   information apparently related to somebody named Brandon
21   the top.                                                     21   Spence. Do you see that?
22       A. Okay.                                                 22      A. Yes.
23       Q. So what does this page of the production reflect?     23      Q. And starting at this point in the PDF there's now
24       A. This would be our -- we would send this out, if       24   a data field that says "country." But next to that it
25   I'm not mistaken, once we got their account set up. It       25   says "SSM." Do you know what SSM is?

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 1      A. I know what SSM is. It was a -- some business           1      Q. So if we back up, the last named client before
 2   that these guys were pushing, but I don't know why they       2   that report is Brandon Spence in Louisville, Kentucky, at
 3   filled it out in country.                                     3   the bottom of page 160. So are you saying that that is
 4      Q. On your AutoDialer123 website that we discussed         4   Mr. Spence's call report?
 5   at the last deposition, we went through that form. And        5      A. If I filled that out below his name, it more than
 6   there is a drop-down menu where the person filling out the    6   likely would be. Yes.
 7   form could indicate the company or business with which        7      Q. So why do we have those call reports for some
 8   they're affiliated; correct?                                  8   people but not most that you've identified in this
 9      A. Correct.                                                9   production?
10      Q. Is it possible that the entry selected on that         10      A. You know, I don't know. I might have done it
11   drop-down menu populates into this field titled "Country"?   11   because that might have been one of the 11 caller I.D.'s
12      A. No.                                                    12   that we identified in our system that we have.
13      Q. The next several instances in this PDF of that         13      Q. The previous page, 162, is blank and just says
14   data field, country, contain an entry that just reads        14   "Confidential." Was there something redacted from that
15   "MMM." Is that one of the businesses that is affiliated      15   page?
16   with Dana Urlich?                                            16         THE WITNESS: Kevin?
17      A. I don't know if that was Dana Urlich's offering        17         MR. TROST: This is Kevin. I'm jumping in here.
18   or not without looking.                                      18      I believe when my firm was putting together the
19      Q. Okay. If you go to page 208, as another example,       19      production there was some blank pages that got
20   under country it says "Tidom," T-i-d-o-m. And there are      20      incorporated into the production. I do not recall any
21   many other instances throughout this document where the      21      entire page being, you know, labeled "Confidential" or
22   country field says SSM, MMM or Tidom. That's why I'm         22      blacked out.
23   asking you if it appears that that might be the entry from   23         If there had been information redacted, they
24   that drop-down menu.                                         24      would have made it obvious that it was redacted with,
25      A. Yeah. No. Those people are putting that in             25      you know, a black blacking out or something of that
                                                        Page 23                                                           Page 25
 1   there by themselves. At this time I don't think we have       1      nature. I think this is just a blank page that got
 2   that in there. I don't think that was a field that we         2      incorporated into the production.
 3   offered.                                                      3      Q. Okay. Mr. Montes, where did you -- from where
 4      Q. Okay. So they're filling in their business              4   did you obtain this call data?
 5   affiliation in the country?                                   5      A. From the Dialer.2 platform, Technologic, Inc.
 6      A. Evidently. I didn't ask anybody to do that, and         6      Q. And it's your testimony that you included it
 7   it wasn't one of our fields at the time, I don't believe.     7   because this is one of the caller I.D.'s identified by
 8   If you want you can go to autodialer123.com and fill out a    8   Mr. Montes -- excuse me, by Mr. Cunningham that you were
 9   sign-up form, and I'll send you what we have.                 9   able to find in the Technologic system?
10      Q. So if I fill out your sign-up form on the              10      A. I need to look and verify that that's what that
11   website, you will provide your attorney the e-mail that      11   was. I remember putting them in here, if that's what it
12   you received --                                              12   was, but without looking I can't tell you off the top of
13      A. Yes, sir.                                              13   my head.
14      Q. -- so I can see the form once you received it?         14      Q. Well, we're taking this deposition today for the
15      A. Yes, sir.                                              15   purpose of questioning you regarding these documents that
16      Q. Okay. Maybe I'll do that. All right. If you            16   you produced. And you're telling me you don't -- you're
17   could please turn to page 163, 1-6-3, in the PDF, Exhibit    17   not sure what this is or why you put it there?
18   number 1.                                                    18      A. Yeah. Correct. Without looking at it, I can't
19      A. Okay.                                                  19   tell you why I put it there.
20      Q. Okay. So the next five or six pages consists of        20      Q. But --
21   a table with these columns of information. What does this    21      A. But those are call reports. And I remember doing
22   reflect?                                                     22   it because that was -- I would have done it because it
23      A. So these are call reports. These are the               23   would have been one of the 11 caller I.D.'s that we found
24   skeletal remains of any calls that were made by this         24   in our system that Mr. Cunningham is alleging called him.
25   particular client.                                           25   But without going through it, I can't guarantee that. I

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 1   need to verify that.                                         1      Q. Okay. So then the fourth column in order, that
 2      Q. What is it that you need to look at to verify?         2   has a zero after that.
 3      A. I just need to look and see why I put that in          3      A. That is agent busy. So if our system has a press
 4   there. I would almost guarantee it, but really I've got      4   1 being transferred to another phone number and that phone
 5   to -- I've got to think about it.                            5   number is busy and it bounces, it would show up under this
 6          MR. LEVIN: All right. Kevin, I'll include this        6   column.
 7      in the e-mail that I'm going to send you, but I'm         7      Q. Okay. And then in order, the fifth column in a
 8      going to need some kind of confirmation. He can't         8   row, that contains a zero.
 9      tell me what this is and why it's there when that's       9      A. Agent, no answer. And that means that the phone
10      the purpose of setting up this deposition today.         10   rang and rang and rang, and nobody at that transfer number
11      Q. Anyway, can you tell me, Mr. Montes, what these       11   picked up.
12   headings mean in the various columns on page 163?           12      Q. Okay. The next column over appears to carry down
13      A. Yes. So let me go back to 163.                        13   to the next line. If I'm reading it correctly, it appears
14      Q. Start from left to right, please.                     14   to be a date entered, 9/23/2015.
15      A. Okay. From left to right, you have the company        15      A. Yeah. The next one is in progress. So if it was
16   name. And then the first column and numbers is agent        16   a live campaign and press 1 transfers were sent, this
17   busy -- or, I'm sorry, calls -- the number of calls. So     17   would show in progress. So it would -- you would see --
18   the second column is number of calls. The third column is   18   you could watch your campaign go out if this was live, and
19   how many live people answered.                              19   you would be able to see how many people are in talking to
20      Q. I'm sorry. Mr. Montes, I'm sorry to interrupt         20   wherever that number -- press 1 number goes to.
21   you. Let's do this differently, so everybody is clear.      21      Q. So there's no numerical entry that reflects the
22   So the first -- the names don't really line up with the     22   in progress?
23   columns, but it appears the first entry in the left-hand    23      A. There would be, but this probably wasn't a press
24   most column on page 163 says "WED-reminder."                24   1 campaign.
25      A. Yes. That is the campaign name.                       25      Q. So it looks like actually the in progress would
                                                       Page 27                                                            Page 29
 1      Q. Okay. And then next to that is a number, 2,188.        1   be the last of the five zeros then?
 2      A. That's the total number of calls that the person       2      A. Correct.
 3   made.                                                        3      Q. Okay. And then the next column would be the
 4      Q. Okay. And next to that is number 784.                  4   heading date, 9/23/2015. Is that when those calls were
 5      A. That's how many live people answered the phone.        5   placed?
 6      Q. And next to that, 1,019?                               6      A. Correct.
 7      A. That's how many answering machines picked up.          7      Q. And then the next column, total cost, what does
 8      Q. Then next to that, number 19?                          8   that reflect?
 9      A. That's how many phone numbers were busy at the         9      A. Total cost to the customer.
10   time that the system made the attempt to call them.         10      Q. $28.11?
11      Q. Okay. Then the next --                                11      A. Correct.
12      A. No answer.                                            12      Q. And then after that, minutes?
13      Q. -- 366.                                               13      A. Those are the total minutes that they used on
14      A. 366 is no answer, so nobody answered the phone.       14   this campaign.
15      Q. Okay. The next column we have a zero.                 15      Q. 1,654?
16      A. Fax numbers.                                          16      A. Correct.
17      Q. Another zero after that.                              17      Q. And then the final column percent, P1?
18      A. Agent connected. That means --                        18      A. That's the percentage of live people that pressed
19      Q. What does that --                                     19   1. And it zeroed out, so this probably was not a press 1
20      A. So if someone had pressed 1, it would show up         20   campaign. It was probably -- for all I know, they
21   here under agent connected.                                 21   probably sent this to answering machines.
22      Q. If they pressed 1 to be directed back to a live       22      Q. And those columns are the same for every line of
23   person?                                                     23   data where you've provided this format?
24      A. To either -- whatever the number is that they         24      A. Correct.
25   give us for press 1.                                        25      Q. And this data was only provided for telephone

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 1   numbers that match those that you said were identified by     1   short break and you can take a look at it now.
 2   Mr. Cunningham?                                               2       A. Let me --
 3      A. I believe so. Yeah.                                     3       Q. Because I'm going to ask you the same questions
 4      Q. The data that you provided in Exhibit No. 1, did        4   about some other lists as well.
 5   you limit it by date range in any way?                        5       A. All right. Let me take a look here.
 6      A. I did, from 2015 to 2017.                               6          MR. LEVIN: All right. Why don't we go off the
 7      Q. The full length of all three of those years?            7       record for a few minutes.
 8      A. Correct.                                                8          (A short break was held from 3:13 p.m. to
 9      Q. Okay. If you could please open up the document          9       3:20 p.m.)
10   that's marked as Exhibit No. 3.                              10   BY MR. LEVIN:
11      A. Okay.                                                  11       Q. All right. While we were off the record,
12      Q. All right. This is the spreadsheet that you            12   Mr. Montes, you were starting to say something about the
13   provided to your attorney, who, in turn, provided it to      13   notes that you were looking for, as to how you prepared
14   me. Does that look correct?                                  14   your spreadsheet that is labeled as Exhibit 3?
15      A. Correct.                                               15       A. Yeah. I couldn't find the form that I took those
16      Q. Okay. And if I'm understanding the description         16   numbers down. I couldn't find it, so I'll have to look
17   of this correctly, this is -- the highlighted in yellow      17   for it in further detail.
18   entries on this exhibit are the telephone numbers that you   18       Q. Was it one form, to use your word, that you
19   say Mr. Cunningham identified which also showed as caller    19   pulled those numbers from, or was it multiple sources?
20   I.D.'s in your system; is that correct?                      20       A. I don't remember. I typed them into that Excel
21      A. Correct.                                               21   spreadsheet a while ago, so I don't remember where I got
22      Q. How did you come up with this list of numbers          22   it.
23   that you say Mr. Cunningham identified? Where did you        23       Q. Okay. So you prepared this spreadsheet yourself
24   take those from?                                             24   from scratch; correct?
25      A. I believe I got them from the lawsuit.                 25       A. Correct.
                                                       Page 31                                                           Page 33
 1      Q. There's been a number of different documents         1         Q. Okay. And what did you do to determine whether a
 2   produced with lists of phone numbers on them. Do you have 2       number was on our system, as it says here?
 3   any recollection of what you looked at when you prepared   3         A. Kevin sent you a video that I did showing you
 4   this?                                                      4      exactly how I did it. We go into our system, and all of
 5      A. I don't remember. I'm certain it had something       5      the caller I.D.'s that we've used are in there. And I can
 6   to do with this case, though. Otherwise, I wouldn't have   6      go numerically and just go down a list and find them.
 7   done it.                                                   7         Q. Okay. Well, I recall exactly what you're talking
 8      Q. Okay. Can you take a look at Exhibit No. 4,          8      about from the video. It didn't show -- you searched for
 9   please.                                                    9      those caller I.D.'s to show at the beginning of that list.
10      A. Okay.                                               10      So you're just saying you scrolled through the list and
11      Q. Okay. This is a list that was prepared by           11      looked for each number in numerical order?
12   Mr. Cunningham that we provided to your attorney early in 12         A. Yes, sir. And we have over 6,000 of them in our
13   discovery. Did you review this list when you were         13      system, so it takes a while to do it.
14   preparing your list of caller I.D.'s?                     14         Q. And that is every caller I.D. number that has
15      A. I might have. I do have the list that I -- I had    15      been used in any dialing campaigns?
16   to hand type them into Excel, and this looks pretty       16         A. Correct.
17   familiar.                                                 17         Q. That's set up through the system using
18      Q. But you're not sure?                                18      Technologic to route the calls?
19      A. Not off the top of my head, no.                     19         A. Correct.
20      Q. Do you have any notes or anything anywhere that     20         Q. So any caller I.D.'s that you used -- for
21   would tell you whether you reviewed that list in Exhibit  21      example, when you had the Shoutpoint system -- would not
22   No. 4 when you were preparing your list in Exhibit No. 3? 22      reflect in this list?
23      A. I would. I would. I have a file, so I'll look       23         A. No. They would not show up because I have no
24   at it and see which list it was.                          24      access to Shoutpoint.
25      Q. If that file is accessible to you, we can take a    25         Q. And each of the highlighted entries in your

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 1   spreadsheet under your column labeled "Status," it says               1   discovery in this case. Do you know if you reviewed this
 2   "active." What does that mean?                                        2   spreadsheet when preparing --
 3      A. It just means their account is still in our                     3      A. Yes.
 4   system.                                                               4      Q. -- Exhibit No. 3?
 5      Q. Does it mean they're actively placing calls with                5      A. This is the one.
 6   you still?                                                            6      Q. Okay. You believe this is the one that you were
 7      A. No. It just means they have the ability to if                   7   working off of?
 8   they want to.                                                         8      A. I do.
 9      Q. So I guess I'm trying to understand if that                     9      Q. So if that's correct, then every phone number
10   column has some kind of independent meaning. Because by              10   other than the ones that belong to Mr. Cunningham listed
11   listing the number, you've indicated that it is in your              11   on Exhibit No. 5 should be in your Exhibit No. 3?
12   system?                                                              12      A. Correct.
13      A. Correct. Yes. And even if it was a nonactive                   13      Q. Okay. Could you please open Exhibit No. 6? This
14   account, the caller I.D.'s would still show up.                      14   was previously marked as Exhibit No. 12 in
15      Q. So what is the definition of an active versus not              15   Mr. Cunningham's deposition. Your attorney had printed
16   active account, as you're describing it?                             16   out a list of screenshots, essentially, of the files that
17      A. Honestly, I don't know. I've never had an                      17   we produced with recordings of phone calls that he had
18   inactive account. I mean, I have accounts that people                18   received.
19   don't use, but they're still active in our system. We                19      A. Okay.
20   don't get rid of them.                                               20      Q. Did you check the caller I.D.'s reflected on
21      Q. Okay. And then the furthest column on the right                21   these recording files when you prepared your Exhibit No.
22   of this spreadsheet says "customer number"?                          22   3?
23      A. Correct.                                                       23      A. I did not.
24      Q. And that's just an internal reference number for               24      Q. Okay. And if you could, please, open up Exhibit
25   you?                                                                 25   No. 7.
                                                                Page 35                                                           Page 37
 1    A. Correct.                                                          1       A. (Witness complies with the request.)
 2    Q. And you mentioned in the video that two of the                    2       Q. This is a list of calls provided to us by
 3 caller I.D.'s went to the same customer, which would be                 3   Connexum via the subpoena we served on them, which I also
 4 customer number 64, I assume?                                           4   provided to your attorney.
 5    A. Correct.                                                          5       A. Okay.
 6    Q. Okay. In that video you said there could only be                  6       Q. Did you use any of these numbers in searching
 7 11 calls maximum having been made through your system                   7   your system for caller I.D.'s?
 8 because we have 11 caller I.D.'s. How do you know that                  8       A. I do not -- no. I've never seen this, so no.
 9 there would be only be 11 calls maximum?                                9       Q. Have you heard of Connexum?
10    A. I don't think that's what I meant. What I meant                  10       A. Yes.
11 was that there's 11 customers that could have called those             11       Q. What company is that, to the best of your
12 numbers.                                                               12   knowledge?
13    Q. So it's possible that any of these numbers could                 13       A. They are a tel. co., and they service not only
14 have called Mr. Cunningham multiple times; correct?                    14   Technologic, Inc., but probably 30 other dialer companies.
15    A. Sure.                                                            15       Q. So calls placed through Technologic are then
16    Q. Okay. Do you have access to any records that                     16   routed to the end user via Connexum?
17 would show how many calls were placed to Mr. Cunningham's              17       A. Maybe. Like I explained in my testimony last
18 numbers from these numbers?                                            18   time, this -- Connexum is a long distance company, and
19    A. I do not.                                                        19   they provide long distance service. And Technologic, Inc.
20    Q. Okay. I think I know what you're going to say.                   20   may or may not utilize their system. And the reason is is
21 But just for the record, since we have these exhibits                  21   all dialer companies have what's called an LCR, a least
22 marked, can you open up Exhibit 5, please?                             22   cost routing, platform within. And you insert rate decks
23    A. Sure.                                                            23   from a dozen different telecommunications companies. So
24    Q. This is another spreadsheet that was prepared by                 24   Technologic Inc. may have used them; maybe they didn't.
25 Mr. Cunningham that we provided to your attorney in                    25   It's hard to say. But they have -- but Connexum is used

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 1   by a whole bunch of different companies.                               1      Q. How do you know that it has been purged?
 2      Q. So is your testimony, then, that Exhibit No. 5                   2      A. Because it's not on there anymore, and I'm told
 3   was the only list of caller I.D.'s that you used in                    3   that it's been purged.
 4   preparing your list reflected in Exhibit No. 3?                        4      Q. Who told you that?
 5      A. Correct.                                                         5      A. I talked to a guy at Connexum that knows the
 6      Q. Okay. Exhibit No. 8 is the video that you                        6   system, and he said it's programmed to purge out. They
 7   provided to us that you referenced earlier.                            7   can't warehouse all of that old data, so they purge it
 8      A. Uh-huh.                                                          8   out.
 9      Q. The date stamp that I see on that video just                     9      Q. Who is the person that you spoke with?
10   through Windows shows it's 4/1/2019. Is that the date you             10      A. A guy named Scott.
11   made that video?                                                      11      Q. How did you connect with Scott?
12      A. Yeah. It was really recent. I would -- yeah. I                  12      A. Scott is the owner of Connexum.
13   just sent it to Kevin, so --                                          13      Q. How does he know when Technologic purges data
14      Q. Okay. And we don't have to play the whole thing                 14   from its system?
15   on the record. We can pull up pieces of it, if necessary.             15      A. I don't know.
16   But I'm going to ask you some questions about different               16      Q. When did you speak with him about it?
17   things you said in that video based on my notes. If you               17      A. Probably about a month ago.
18   want to listen back to it or view it before you answer any            18      Q. Do you recall Scott's last name?
19   questions, by all means you can do so.                                19      A. Yeah, yeah, yeah. Hang on one second. It's
20      A. Okay.                                                           20   Scott Kettle, K-e-t-t-l-e. Would you like his e-mail
21      Q. All right. So you started off -- you were giving                21   address?
22   a demonstration of how you believe that call data reports             22      Q. Sure.
23   are not available for different date ranges that we had               23      A. Letters sk@gawk -- g-a-w-k -- .com. And I can
24   requested.                                                            24   give you his phone number.
25      A. Correct.                                                        25      Q. Okay.
                                                                 Page 39                                                           Page 41
 1    Q. And you started off saying you are in one of the                   1      A. I can't give you his phone number. It's not -- I
 2 accounts, as if you were showing us a demonstration of                   2   didn't save it. I'll find it for you. I'll put it
 3 what it looks like when they're not available.                           3   into -- I'll put it -- just e-mail Kevin. And when he
 4    A. Correct.                                                           4   gives me the list, it's one of the things I'll give to
 5    Q. Do you know what account that was that you were                    5   you.
 6 in?                                                                      6      Q. Have you ever communicated with somebody at
 7    A. I don't. I can go into any account that is that                    7   Connexum named Christopher Hall?
 8 old, and the same result will happen.                                    8      A. Not that I'm aware of, no.
 9    Q. How do you know that?                                              9      Q. Do you know who that is?
10    A. I've gone into several accounts looking for them.                 10      A. I don't.
11    Q. Okay. So there are various dates of reports that                  11      Q. Did Mr. Kettle tell you how long Technologic
12 you tried to pull up that I noted here, the call data                   12   maintains call data -- call detail reports in its system
13 reports; correct? That's what CDR stands for; right?                    13   before they're purged?
14    A. Call detail report. Yes.                                          14      A. No. I've got his number whenever you're ready.
15    Q. Call detail report. Sorry. Those were                             15      Q. Okay.
16 April 7th, 2015, December 29th, 2017, January 1st, 2018,                16      A. 323-2 --
17 March 8, 2018, May 22nd, 2018. And each one of those came               17      Q. I'm sorry. Say that again, please. You faded
18 up with probably have no CDRs with that disposition.                    18   out.
19    A. Correct.                                                          19      A. 323-286-3564.
20    Q. So what does that mean to you when the system                     20      Q. So paragraph 17 of the rider to the subpoena,
21 sends back that message, no CDRs with that disposition?                 21   what's been marked as Exhibit 2 for this deposition, asks
22    A. It means that that data is no longer available.                   22   for all documents reflecting records of calls placed on
23    Q. It's no longer available to you, or it no longer                  23   behalf of any individuals or entities identified in the
24 exists?                                                                 24   documents produced, pursuant to number 16, to the three
25    A. No. It's purged.                                                  25   telephone numbers owned by Craig Cunningham.

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 1         And was your demonstration in that video to show        1   calls from.
 2   us that none of those records exist?                          2      A. Okay. Well, I don't know what you deem complete.
 3      A. Correct.                                                3   But if those are the calls in question, then I did my job.
 4      Q. We don't know for sure if they might not exist          4   And I deem it as complete.
 5   somewhere, they're just not accessible to you?                5      Q. In the video you made a statement clients are not
 6      A. If you know where they're at, have at them. But         6   allowed to put their own caller I.D.'s in or take them
 7   they're not accessible to me.                                 7   out.
 8      Q. Okay. So how did you go about searching for each        8      A. Correct.
 9   of these different individuals or entities to ensure that     9      Q. What did you mean by that?
10   there were no records?                                       10      A. It means they have to -- it's the one thing that
11      A. I logged into our system and attempted to pull up      11   I have to do for every customer. They have to send me
12   records, and they show up as not available.                  12   their caller I.D. As we go back -- you remember when you
13      Q. Did you attempt to pull up all the records in          13   asked me, well, the caller I.D. is -- the guy didn't list
14   those date ranges for each of the individuals and            14   it? And I said, well, if you go up, you'll see I asked
15   businesses listed in the subpoena?                           15   him for his caller I.D. I can't activate an account
16      A. I pulled up everybody that I found that -- of the      16   without a caller I.D., and they are not allowed to input
17   caller I.D.'s that were in our system that -- on the         17   their own or take them out.
18   page -- on Exhibit 3. So everybody in yellow I made an       18      Q. So you personally have to enter all those caller
19   effort to pull up.                                           19   I.D.'s?
20      Q. So you can search by caller I.D., and then it's        20      A. Yes. So that's why it's imperative that they
21   going to show you the various call campaigns that they       21   give them to us when we set up the campaign. Otherwise,
22   did?                                                         22   they'll got lost in the shuffle, and who knows if they
23      A. No. I can find out who the client is and then          23   ever get launched.
24   log in to their system and go through their call detail      24      Q. Any of the call detail reports that you were
25   reports -- or, I'm sorry, their call summary reports.        25   looking for that refer to a message that there were none
                                                        Page 43                                                           Page 45
 1      Q. So you only searched for the 11 caller I.D.'s           1   with that disposition, do you know at what point those
 2   that are highlighted in Exhibit No. 3?                        2   records would have been purged?
 3      A. Correct.                                                3      A. I have no idea. You can ask Scott that when you
 4      Q. But you attempted to download any call detail           4   talk to him. Maybe he knows.
 5   reports for any of those numbers for the years 2015, 2016     5      Q. At any point during this lawsuit, did you take
 6   and 2017?                                                     6   any steps to try to preserve any of those call detail
 7      A. Correct.                                                7   reports?
 8      Q. And every single one of those came back as no           8      A. No. Because I was under the assumption that they
 9   CDRs with that disposition?                                   9   would always be there. I mean, why would they purge them
10      A. Correct. And you guys -- in the information that       10   and then -- evidently they get purged.
11   I sent you, I'm sure you read a whole lot of user I.D.'s     11      Q. Have you ever had occasion to pull up one of
12   and passwords. They still work. Help yourself. Feel          12   those call detail reports in the past?
13   free to log in to any of them.                               13      A. No. No. Because by the time there's call detail
14      Q. Well, I'm just trying to verify if you checked         14   reports, most customers are on their own and know how to
15   each of those numbers and every call campaign that they      15   use the system. So we don't get really wrapped up in
16   uploaded to your system to see if the data is available,     16   pulling reports for them.
17   or did you just stop at some point thinking records have     17      Q. Have you ever done that before?
18   been purged?                                                 18      A. I've pulled up reports many times, but I've never
19      A. No. I went through each and every one of the 11        19   had to go back so far -- nobody has ever asked me to go
20   that I found, and none of them had call detail reports       20   back that far. Usually if somebody asks me to pull up a
21   available for that date range.                               21   report for them, it's within, you know, 30, 90 days.
22      Q. Well, it happens that your response to the             22      Q. Have you ever seen that message before, no CDRs
23   subpoena is incomplete then because that's not what was      23   with that disposition --
24   requested in paragraph 17. You chose to narrow it to 11      24      A. Yes.
25   caller I.D.'s that you assumed were the only ones he got     25      Q. -- prior to this --

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 1      A. Yes, I have.                                                 1       Q. Okay. Is that contained somewhere within Exhibit
 2      Q. Okay. And so, then, you were aware prior to                  2   No. 1 that you produced?
 3   preparing your video and your spreadsheet, Exhibit No. 3,          3       A. No.
 4   that there were instances where detail reports would be            4       Q. Okay. Is that something you can do while we are
 5   purged?                                                            5   on the record here?
 6      A. I didn't know they were being purged. I just                 6       A. No.
 7   assumed they were a glitch. That's how few times I've              7       Q. What would you have to do in order to find out,
 8   ever had to do it.                                                 8   for example, who is customer number 64?
 9      Q. So you're saying you did not know that they were             9       A. I could find out for you, but it's going to be
10   being purged until Scott Kettle told you that?                    10   something you're going to ask Kevin for. It takes a
11      A. Correct.                                                    11   while.
12      Q. When did you first become aware that                        12       Q. So can you describe for me in a minute or less
13   Mr. Cunningham had filed this lawsuit against you?                13   what you do to figure out who is customer number 64?
14      A. When I got notice that there was a court date               14       A. So I have to go into our list of caller I.D.'s.
15   pending for a default judgment.                                   15   I have to find the caller I.D. because -- I have to do it
16      Q. Okay. So maybe since the hearing on the motion              16   manually. We don't have a caller I.D. search feature
17   for default judgment you've been aware that this lawsuit          17   within our system. So I have to sort them by numerical
18   was pending against you?                                          18   order, and then I have to go find them.
19      A. Yes.                                                        19           And then I have to find out who the -- who that
20      Q. And were you aware at that time that this lawsuit           20   code belongs to, and then I can go in and find that. But
21   related to calls that the data of which was maintained by         21   it's a tedious process with 6,000 numbers. So am I going
22   Technologic Systems?                                              22   to do it today? No. But I might do it later if you ask
23      A. I was made aware that there was a lawsuit. And I            23   Kevin.
24   read the lawsuit, and I contacted an attorney.                    24       Q. But whoever those individuals are, their
25      Q. Okay. My question was: When you first read the              25   information is contained somewhere within Exhibit No. 1?
                                                             Page 47                                                            Page 49
 1 lawsuit, were you aware that it related to phone calls,              1      A. It should be.
 2 the data from which was maintained by Technologic Systems?           2      Q. Did you ever see a copy of a letter that
 3    A. Yes.                                                           3   Mr. Cunningham sent to your attorney asking that any
 4    Q. And during the entire time this lawsuit has been               4   evidence or call records related to this case be
 5 pending, you've had access to that Technologic system;               5   preserved?
 6 correct?                                                             6      A. I don't recall seeing that letter, but I'll ask
 7    A. Yes, sir.                                                      7   Kevin.
 8    Q. Okay. And prior to the motion to compel being                  8      Q. Okay. It appears that letter was dated February
 9 granted in this case, had you ever made any attempt to               9   26th of 2018. Do you recall taking any steps to preserve
10 download any call detail reports that you thought might             10   any data maintained in the Technologic system since the
11 relate to this lawsuit?                                             11   filing of this lawsuit, or you became aware of it anyways?
12    A. No.                                                           12      A. No. I took no steps whatsoever because my
13       MR. LEVIN: All right. Let's go off the record                 13   assumption was that all that information would be kept on
14    again for a moment. I might have a few more                      14   Technologic, Inc.
15    questions.                                                       15      Q. Do you know if Technologic has any data retention
16       (A short break was held from 3:48 p.m. to                     16   policy? Have you ever seen one?
17    3:52 p.m.)                                                       17      A. I've never seen one. No.
18       MR. LEVIN: Okay. We can go back on the record.                18      Q. Have you ever discussed in all your e-mails with
19 BY MR. LEVIN:                                                       19   Technologic that -- I'm sorry. In all the e-mails that
20    Q. In Exhibit No. 3, you listed the customer numbers             20   you have with Technologic representatives, have you ever
21 for those 11 caller I.D.'s?                                         21   discussed any of their policies regarding their technical
22    A. Yes.                                                          22   data?
23    Q. Do you have any way to identify those users by                23      A. No.
24 name as opposed to customer number?                                 24      Q. Are you familiar that companies generally keep
25    A. I do.                                                         25   purged call records after an extended amount of time?

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 1      A. No.                                                    1      what you and I talk about.
 2      Q. So do you believe that a cell phone provider, for      2         THE WITNESS: Okay.
 3   example, has all call records -- any calls ever made and     3         MR. LEVIN: Sorry. That wasn't my intention.
 4   any texts for ten years or longer?                           4         MR. TROST: The magistrate/judge did limit the
 5      A. I have no idea.                                        5      scope and the time frame for the response to '15 to
 6      Q. I think we're about done here. Bear with me just       6      '17.
 7   a moment.                                                    7         MR. LEVIN: Right. Well, it appears Mr. Montes
 8          In the example that you provided in your video,       8      limited the scope much further on his own.
 9   you were able to download call records for October 5th of    9         THE WITNESS: Well, I had to find out what year
10   2018 and December 19th of 2018.                             10      he was in, so I looked for him.
11      A. Okay.                                                 11         MR. LEVIN: Okay. That's all I have.
12      Q. So in all of the searching that you did, your         12         THE WITNESS: Okay. Thank you, gentlemen.
13   response to the subpoena, what was the most recent record   13         MR. LEVIN: Kevin, no questions? Can't hear you,
14   that you were able to find?                                 14      Kevin.
15      A. It's in the video. Whatever that was was the          15         MR. TROST: No. I think we're good.
16   earliest that I could find.                                 16         MR. LEVIN: Okay. I would like an electronic
17      Q. That video is just one example; correct?              17      copy of the transcript. We can go off the record.
18      A. Sure.                                                 18      I'm sorry. How about signature?
19      Q. You did many more searches that were not              19         MR. TROST: Yes. We'll read.
20   reflected in the video?                                     20         MR. LEVIN: Reserved? Is that what you mean?
21      A. Correct.                                              21         MR. TROST: Yeah.
22      Q. But that's the one that was the most recent that      22         MR. LEVIN: Okay. We'd like a copy of the
23   you could find that you --                                  23      transcript. Electronic is fine. You don't have to
24      A. I believe so. Like I said, you guys have user         24      put this part on the record.
25   I.D.'s and passwords to a whole lot of accounts. Help       25         (Deposition concluded at 4:04 p.m.)
                                                       Page 51                                                                       Page 53
 1   yourself.                                                    1                CERTIFICATE OF OATH
 2      Q. And the call detail reports in which you were          2
                                                                  3 STATE OF FLORIDA)
 3   searching are just the 11 caller I.D.'s listed on Exhibit
                                                                  4 COUNTY OF LEE)
 4   3 highlighted in yellow; correct?
                                                                  5
 5      A. Correct.
                                                                  6    I, the undersigned authority, certify that
 6      Q. Okay. So you did not try searching by any of the       7 MICHAEL JAMES MONTES personally appeared before me and was
 7   names that we listed in the rider to the subpoena? For       8 duly sworn. He provided his driver's license as
 8   example, Exhibit 2, the rider to the subpoena, on page 5,    9 identification.
 9   numbers 12 and 13 reference Rich Holman (phonetic). So      10    WITNESS my hand and official seal this 25th day of
10   did you specifically search for Rich Holman?                11 April, 2019.

11      A. Oh, yeah. Rich Holman is a 2018 client. It's          12
                                                                 13
12   outside of your realm.
                                                                 14
13      Q. So you did search for his records, or you did
                                                                                      <%12323,Signature%>
14   not?                                                        15                   Darla R. Rowe
15      A. No. I did.                                                                 Notary Public - State of Florida
16      Q. So he's one of the 11 caller I.D.'s on that           16                   My Commission No: GG 250771
17   report?                                                                          Expires: 10/6/2022
18      A. No, not that I'm aware of. But you mentioned          17

19   him, so I looked him up. But he's a 2018 customer.          18
                                                                 19
20      Q. So your searches were limited to 2015 through
                                                                 20
21   2017?
                                                                 21
22      A. Correct. That's what I was told.
                                                                 22
23      Q. By whom?                                              23
24      A. By Kevin. The judge said 2015 to 2017.                24
25         MR. TROST: Mike, our function is not to get into      25

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                                                                                    1            DEPOSITION REVIEW
 1            REPORTER'S DEPOSITION CERTIFICATE
                                                                                                CERTIFICATION OF WITNESS
 2                                                                                  2
                                                                                      ASSIGNMENT REFERENCE NO: 3295767
 3 STATE OF FLORIDA)                                                                3 CASE NAME: Cunningham, Craig v. Montes, Michael, et al.
 4 COUNTY OF LEE)                                                                     DATE OF DEPOSITION: 4/18/2019
                                                                                    4 WITNESS' NAME: Michael James Montes
 5                                                                                  5     In accordance with the Rules of Civil
 6      I, Darla R. Rowe, Computerized Stenotype Reporter and                         Procedure, I have read the entire transcript of
                                                                                    6 my testimony or it has been read to me.
 7 Notary Public in and for the State of Florida at Large,                          7     I have made no changes to the testimony
 8 certify that I was authorized to and did stenographically                          as transcribed by the court reporter.
                                                                                    8
 9 report the deposition of MICHAEL JAMES MONTES; that a                              _______________          ________________________
10 review of the transcript was requested; and that the                             9 Date                Michael James Montes
                                                                                   10     Sworn to and subscribed before me, a
11 transcript is a true and complete record of my                                     Notary Public in and for the State and County,
12 stenographic notes.                                                             11 the referenced witness did personally appear
                                                                                      and acknowledge that:
13      I further certify that I am not a relative, employee,                      12
                                                                                          They have read the transcript;
14 attorney, or counsel of any of the parties, nor am I a
                                                                                   13     They signed the foregoing Sworn
15 relative or employee of any of the parties' attorney or                                Statement; and
                                                                                   14     Their execution of this Statement is of
16 counsel connected with the action, nor am I financially                                their free act and deed.
17 interested in the action.                                                       15
                                                                                          I have affixed my name and official seal
18                                                                                 16
19      DATED this 25th day of April, 2019.                                           this ______ day of_____________________, 20____.
                                                                                   17
20                                                                                            ___________________________________
21                                                                                 18         Notary Public
                                                                                   19         ___________________________________
22                       <%12323,Signature%>                                                  Commission Expiration Date
                         Darla R. Rowe                                             20
                                                                                   21
23                                                                                 22
24                                                                                 23
                                                                                   24
25                                                                                 25

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                       1100 Superior Ave                                                      CERTIFICATION OF WITNESS
 2                       Suite 1820                                                 2
                      Cleveland, Ohio 44114                                             ASSIGNMENT REFERENCE NO: 3295767
 3                     Phone: 216-523-1313                                          3   CASE NAME: Cunningham, Craig v. Montes, Michael, et al.
 4                                                                                      DATE OF DEPOSITION: 4/18/2019
     April 25, 2019                                                                 4   WITNESS' NAME: Michael James Montes
 5                                                                                  5       In accordance with the Rules of Civil
     To: Mr. Trost                                                                      Procedure, I have read the entire transcript of
 6                                                                                  6   my testimony or it has been read to me.
     Case Name: Cunningham, Craig v. Montes, Michael, et al.                        7       I have listed my changes on the attached
 7                                                                                      Errata Sheet, listing page and line numbers as
     Veritext Reference Number: 3295767                                             8   well as the reason(s) for the change(s).
 8                                                                                  9       I request that these changes be entered
   Witness: Michael James Montes            Deposition Date: 4/18/2019                  as part of the record of my testimony.
                                                                                   10
 9
                                                                                            I have executed the Errata Sheet, as well
10 Dear Sir/Madam:
                                                                                   11   as this Certificate, and request and authorize
11
                                                                                        that both be appended to the transcript of my
   The deposition transcript taken in the above-referenced
                                                                                   12   testimony and be incorporated therein.
12
                                                                                   13   _______________           ________________________
   matter, with the reading and signing having not been
                                                                                        Date                Michael James Montes
13
                                                                                   14
   expressly waived, has been completed and is available                                    Sworn to and subscribed before me, a
14                                                                                 15   Notary Public in and for the State and County,
   for review and signature. Please call our office to                                  the referenced witness did personally appear
15                                                                                 16   and acknowledge that:
   make arrangements for a convenient location to                                  17       They have read the transcript;
16                                                                                          They have listed all of their corrections
   accomplish this or if you prefer a certified transcript                         18       in the appended Errata Sheet;
17                                                                                          They signed the foregoing Sworn
   can be purchased.                                                               19       Statement; and
18                                                                                          Their execution of this Statement is of
19 If the errata is not returned within thirty days of your                        20       their free act and deed.
20 receipt of this letter, the reading and signing will be                         21       I have affixed my name and official seal
21 deemed waived.                                                                  22   this ______ day of_____________________, 20____.
22                                                                                 23           ___________________________________
23 Sincerely,                                                                                   Notary Public
24 Production Department                                                           24
25                                                                                            ___________________________________
   NO NOTARY REQUIRED IN CA                                                        25         Commission Expiration Date


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 1            ERRATA SHEET
         VERITEXT LEGAL SOLUTIONS MIDWEST
 2          ASSIGNMENT NO: 4/18/2019
 3   PAGE/LINE(S) /    CHANGE       /REASON
 4   ___________________________________________________
 5   ___________________________________________________
 6   ___________________________________________________
 7   ___________________________________________________
 8   ___________________________________________________
 9   ___________________________________________________
10   ___________________________________________________
11   ___________________________________________________
12   ___________________________________________________
13   ___________________________________________________
14   ___________________________________________________
15   ___________________________________________________
16   ___________________________________________________
17   ___________________________________________________
18   ___________________________________________________
19
   _______________     ________________________
20 Date           Michael James Montes
21 SUBSCRIBED AND SWORN TO BEFORE ME THIS ________
22 DAY OF ________________________, 20______ .
23       ___________________________________
         Notary Public
24
         ___________________________________
25       Commission Expiration Date




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          Federal Rules of Civil Procedure

                       Rule 30



(e) Review By the Witness; Changes.

(1) Review; Statement of Changes. On request by the

deponent or a party before the deposition is

completed, the deponent must be allowed 30 days

after being notified by the officer that the

transcript or recording is available in which:

(A) to review the transcript or recording; and

(B) if there are changes in form or substance, to

sign a statement listing the changes and the

reasons for making them.

(2) Changes Indicated in the Officer's Certificate.

The officer must note in the certificate prescribed

by Rule 30(f)(1) whether a review was requested

and, if so, must attach any changes the deponent

makes during the 30-day period.




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THE ABOVE RULES ARE CURRENT AS OF SEPTEMBER 1,

2016.   PLEASE REFER TO THE APPLICABLE FEDERAL RULES

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